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cAsE No. _ __ M JEFFERsoN cIRcUIT COURT
DIVISION
JUDGE
CAROLINE BENDIXEN n PLAINTIFF
V.
MIDLAND CREDIT MANAGEMENT, INC. DEFENDANT
3111 Carnino Del Rio North, Suite 103
San Diego, CA 92108

sense

Corporation Service Company

2900 SW Wanamalcer Drive, Suite 204
Topeka, KS 66614

 

coMPLAINT

 

The Plaintiff, Caroline Bendi:xen, for her Complaint against Defendant, Mid!end Credit
Managernent, Inc., by counsel, states as foilows:
INTRODUCTION
1. _ 'I`his is an action for aetnai and statutory damages brought by Piaintiff against the
Defendant for Violation of Chapter 41, the Consumer Credit Protection Credit Act, of Title 15

(Cornmeree and Trade) of the United States Code, specifically, 15 U.S.C. § 1692 et seq., (known

 

as the “Fair Debt Collection Practices Act,” hereafter the “FDCPA”), which prohibits debt

Presiding Judge: HON.JUB|TH MCDONALD EURKMAN {630153}

collectors From engaging in ebusive, deceptive and unfair practices in the collection of consumer

debt and in connection therewith `

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]UR.IS]DICTI()N AND VENUE
2. Plaintiff Caroline fBendixen (“Plaintz`jj‘” or “Ms. Bendixen”) is a resident of

Louisviile, _Iefferson County, Kentucl<y.

3. Plaintit"f is a “consumer” as that term is defined in the FDCPA with respect to the
matters referred to herein

4. Defendant Midiand Credit Managernent, lnc., is a Kansas corporation with an
office in San Diego, California.

5. .A.t all pertinent times herein, in this judicial district, Defendant regularly used the
mails to collect consumer debts owed or asserted to be owed or due another, and/or otherwise
engaged in a business the primary purpose of which was the collection of consumer debt owed or
due or asserted to be owed or due another.

6. Defendant is a “drrbt collector” as said term is defined in the FDCPA and with
respect to the matters cited herein.

7. This ¢ourt has jurisdiction pursuant to Ky. Const. § 112(5} and KRS 23A.010(1).

8. Venue is proper in this Conrt because the Defendant transacts business in this
county, Plaintitt" is a resident of this county, and the conduct complained of occurred here.

9. Plaintiff seeks damages in excess of the minimum damages necessary to confer

jurisdiction in this Court.
FAC’I‘S

10. Or about March 2, 2016, Defendant sent a letter to Plaintil'l` via the mails wherein

Dei`endant sought to coliect a debt on behalf of GE Capital Retaii Bank, in the amount of $451.51.

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presiding Judge: HON. JUDITH MCDONALD BUR|(MAN {636153}

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11. In the l\/[ai'cli 2, 2016 letter, and subsequent letters, Defendant advised that the
original creditor of the debt Was GE Capital Retail Bank.

12. ln the March 2, 2016 letter, and in subsequent letters, Defendant advised that
Piaintiff had been “pre»approved for a discount program” and offered alternative discounts to
resolve the debt.

13. In the l\/Iarch 2, 2016 letter, and in subsequent letters, Defendant advised that if
Plaintiff paid less than the full balance, it would “report [the] account as Paid in Full for less
than the full balance ”

14. In or around Novernber 14, 2016, and thereafter, Defendant reported information
about the debt to one or more credit reporting agencies, including that the original creditor was
GE Capital Retail Bank, that the amount owed on the debt was $452, that the debt Was opened on
]uly 30, 2014, and that the debt Was in collections

15. Defendant’s representations regarding the debt were materially false, deceptive,
or misleading

16. Defendant sought to collect amounts from Plaintiff` that Were not authorized by
the agreement creating the debt or permitted by iaw, including unlawful interest, late charges,
and other fees.

17‘ I.u using “Credit Management” in its business name, Defendant falsely implied
that it was a consumer reporting agency.

18. On the outside of the envelopes used to maii the ietters to Plaintiff, Defendant

included a QR code that contained information about the debt.

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Presiding .Judge: HC|N. JUD'ITH MCDONALD BURICMAN {630153}

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19. As a result of the Defenciant’s conduct, as herein alleged, Piaintill` has been
damaged and has suffered confusion, emotional distress, mental anguish, stress, anxiety, damages
to her credit rating-y credit denials, and loss of reputation, entitling her to pursue a private cause
of action against Defendant for actual and statutory damages, plus attorney's fees and costs.

COUNT I
VIOLATION OF THE FDCPA

20. Defendant engaged in conduct the natural consequence of which Was to harass,
oppress, or abuse Plaiutif¥ in connection with the collection of the debt. l

21. Defendant’srepresentations to Plaintiff were materially false, deceptive, and/or
misleading, in violation of 15 U.S.C. § 1692e.

22. In its letters, Defendant failed to adequately disclose that it was a debt collector
attempting to collect a debt, in violation of 15 U.S.C. § 1692€(11).

23. Defendant used unfair or unconscionable means to collect or attempt to collect
the subject debt, by, inter alia seeking to collect amounts that were not authorized by agreement
or permitted by law. 15 U.S.C. § 1692f(1).

24. in connection With the collection of the debt, Defendant used language and
symbols, other than the Dei`endant’s address, on the envelope when communicating with the
Plaintift` by use of the mails, in violation of 15 U.S.C. § 1692f(3).

25. In its letters, Defendant falsely implied that it was a consumer reporting agency, in
violation ol`15 U.S.C. § 1692€(16).

26. In its letters, Defendant communicated or threatened to communicate credit

information to others that it knew or should have known Was false, in violation of 15 U.S.C. §

1692@(3).

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F’residing Judge: HON. JUDiT§-l MCDONALD EuRKMAN {630153}

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27. Defendant’s unlawful actions as described above and as set forth above caused
Plaintiff to sustain actual dalnages, in the form of mental and emotional distress, pain and
suffering, inconvenience, turmoil, disgrace, embarrassment, anxiety, humiliation, physical and
mental upset, stress, embarrassment, loss of commercial viability, loss of credit opportunities,

invasion of privacy, pecuniary loss, and damage to credit rating, credit score, reputation, and

perceived credit worthiness.

 

28. With respect to the additional damages that may be awarded pursuant to 15~

 

U.SiC. § 1692k(a){2)(A)`, Defendant’s noncompliance with the FDCPA is intentional, frequent,
widespread and affects a large number of persons perhaps numbering into the thousands,
including but not limited to Plaintiff.

29. Defendant's conduct as herein alleged entitles Plaintiff' to relief against the
i)efendant in the form of an award of actual damages, statutory damages, plus attorney's fees and
costs.

COUNT ll
INTENTIONAL ()R NEGLIGENT INFLICTION
OF EMOTIONAL DISTRESS
30. Defendant’s conduct as herein alleged was intentional, reckless, or negligent

31. Defendant’s conduct was so outrageous and intolerable so as to offend generally

accepted standards of morality and decency.

Pr$iding dudge: HON. JUD¥TH MCDONALD BURKMAN (530153}

 

32. Defendant’s conduct as herein alleged was a cause of Plaintiff’s emotional

distress .

33. Plaiiitiif’s emotional distress was severe.

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34. At law, Plaintiff is entitled to an award of compensatory damages against the

Defendant.

35. Pursuant to KRS 411.184(2), Plaintiff is entitled to an award of punitive damages

against the Defendant.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff, Caroline Bendixen, by counsel, demands relief against the
Defendant, Midland Credit Management, Inc., as follows:

A. Entry of a judgment against Defendant to compensate Plaintit`f for his actual
damages sustained as set forth in above Counts.

B. Entry of a ]udgment under the about Counts for any and all maximum statutory
damages provided under applicable federal or state statute

C. Enn'y of a_ludgrnent against Defendant for punitive damages on the above Counts
wherein an award of such damages is proper and appropriate

D. Interest on all of the aforementioned amounts at the maximum rate and for the
maximum duration allowed by applicable law.

E. Entry of an order temporarily and permanently enjoining Defendant from future,
similar violations of the FDCPA and directing it to discharge, quit, satisfy and/ or pay the subject
debt and cause any adverse credit information referencing the debt to be deleted and removed
from any consumer report concerning Plaintiff.

F. An award of attorneys’ fees and costs herein incurred

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G. Any and all other relief to which he may be entitled, including the right to amend
this Complaint to add additional claims or additional parties after conducting appropriate

discovery

Respectfully subniitted,
TAYLOR COUCH PLLC

/s/Zach¢zry L. Taylcr
ZACHARY L. TAYLOR
2815 'I`aylorsville Road, Suite 101
Lonisville, Kentucky 40205
Phan@ | Fax: (502) 625~5000
ztaylor@taylorcouchlaw.com

 

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ClVlL SUMMONS

 

 

Plant`iff, BEND|XEN, CAROL|NE VS. NllDi..AND CREDIT MANAGEMENT, lNC., Defendal'ii

TO: CORPORATION SERVICE CO!V|PANY
2900 SW WANANIAKER DR. SU|TE 204

TOPEKA, KS 66614

The Commonwea|th of Kentuol<y to Defendent:
MlDLAND CRED!T MANAGEMENT, lNC.

You are hereby notified that e legal action has been filed against you in this Court demanding relief as shown on
the document detivered te you With this Summens. Uniess a written defense is made by you or by an attorney

on your behaff within twenty (20) days foiiowing the day this paper is delivered to you, judgment by defauit may be
taken against you for the relief demanded in the attached complaint

The name(s) end eddreea{es) of the party or parties demanding relief against you or hiefher (their) etterney(s) are shown en the
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/sf Devid L. Nicholson, Jefferson Circuit Cierl<
Date: 03[02!2017

 

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Presiding Judge: l-HJN_ JUD|`TH M€DONA!._D EHRi{MAN [630153)

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